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Plaintiff,

v. No. 05-2413 B A
N|PPON CARBON C()MPANY, LTD.;
MlTSUB|SH| LOGlSTlCS CORPORAT|ON,'
M|TSUB|SH| LOG|ST|CS AMER|CA
CORPORAT|ON; and YANG M|NG
MAR|NE TRANSPORT CORPORAT|ON,

\._/~._z\._/'~_/~._/`_z\_/\_z-_r\_p~_r\..rv

Defendants.

 

ORDER GRANT|NG MOT|ON FOR ENLARGEMENT OF T|ME TO
YANG M|NG MAR|NE TRANSPORT CORPORAT|ON TO RESPOND
TO COMPLA|NT

 

This matter Came before the Court upon the Motion of Yang Ming Marine Transport
Corporation to enlarge the time Within Which it may file a responsive pleading to P|aintitf’s
Complaint herein. lt appears to the Court that good Cause has been shown and that the
motion of Defenclant Yang Ming Marine Transport Corporation is well-taken and should be

granted.

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lT lS, THEREFORE, ORDERED, AD]UDGED, AND DECREED that Defendant Yang
Ming Marine Transport Corporation may have an additional extension of time up to and

includingluly 15, 2005 Within Which to file its response to the Complaint in this Cause.

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UN|TED STATES jUDGE

DATE: of 20

     

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Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CV-02413 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

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Honorable .1. Breen
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